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                                            January 23, 2020


Hon. Jed. S. Rakoff
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl St.
New York, NY 10007-1312


       Re:     United States v. Parker H Petit and William Taylor, 19 Cr. 850 (JSR)

Dear Judge Rakoff:

     We write respectfully on behalf of our client, MiMedx Group, Inc. ("MiMedx" or ''the
Company"), in connection with the above-referenced matter.

       On the evening of January 22, 2020, Defendants Parker H. Petit and Bill Taylor
("Defendants") filed a Motion to Compel. See ECF #24. Attached to Defendants' Motion as
"Exhibit J" (ECF #24-10), "Exhibit M" (ECF #24-13), and "Exhibit Q" (ECF# 24-17) are
excerpts of documents that MiMedx's former auditor, Ernst & Young ('~EY"), inadvertently
produced to staff of the Securities and Exchange Commission ("SEC") in response to an SEC
subpoena, without MiMedx's knowledge or consent. We understand that the SEC staff provided
these documents to the U.S. Attorney's Office, which, in turn, disclosed them to Defendants. The
contents of these Exhibits were also reproduced and described in Defendants' motion.
Defendants' filing of these documents on the public docket on January 22, 2020 was the first
time that MiMedx learned of their production to the SEC, the U.S. Attorney's Office, and
Defendants. These inadvertently produced documents contain information subject to the work-
product protection ofMiMedx. As such, MiMedx is moving to quash Exhibits J, M, and Q to
Defendants' Motion to Compel, as well as any references thereto in Defendants' Motion to
Compel (ECF #24).

        The contents of Exhibits J, M, and Q memorialize the impressions, opinions, and legal
advice of King & Spalding, LLP ("K&S"), outside counsel to the Audit Committee of the Board
of Directors of MiMedx. K&S was retained by the Audit Committee to conduct an internal
investigation, which was initiated following discussions with EY, MiMedx's external auditor at
the time. In particular, the internal investigation was initiated in February 2018 to investigate
allegations raised in ongoing government investigations, civil litigation, and threats of litigation.
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In other words, when the internal investigation was initiated, MiMedx was already in the midst
of government investigations and civil litigation-and reasonably anticipated further litigation-
touching on the subject matters of the internal investigation. Indeed, the issues raised in the
then-existing litigation and anticipated litigation were, what prompted EY to request that the
Audit Committee conduct the internal investigation.

       Exhibits J, M, and Q attached to Defendant's Motion to Compel:are notes from meetings
between EY and K&S that reflect K&S's investigative strategy and mental impressions, and
describe certain findings of their investigation. Specifically:

   •    Exhibit J contains notes from a July 16, 2018 meeting between EY and K&S that
        memorialize K&S's impressions and proposed legal strategy in light of certain
        investigative findings, as well as K&S's strategy for investigativ~ next steps.

   4"   Exhibit M contains notes from a meeting between EY and K&S on September 26, 2018,
        which memorialize a presentation K&S provided to EY on the status of its internal
        investigation. K&S's mental impressions as well as its legal conclusions from its
        investigative findings are reflected throughout this document.

   •    Exhibit Q contains notes from a March 22, 2018 meeting betweeh EY and K&S, which
        lays out in detail K&S's investigation plan and strategy, includin$ their plans for witness
        interviews, analysis of accounting data, document review search terms, and the
        appropriate scope and subject matter for the internal investigatio~.

        These documents should not have been produced to the SEC staff or U.S. Attorney's
Office, or shared with the Defendants because they contain MiMedx's protected work product.
The work-product doctrine shields from disclosure "documents and tangible things that are
prepared in anticipation oflitigation or for trial by or for another party ot its representative."
Fed. R. Civ. P. 26(b)(3); see United States v. Noble, 422 U.S. 225,236 (1975) (work-product
doctrine "applies to criminal litigation as well as civil"). Courts nationwide, including Courts in
this District and Circuit, have consistently recognized that materials generated during an internal
investigation conducted in anticipation oflitigation qualify for work product protection. For
example, in International Design Concepts, Inc. v. Saks, Inc., Judge Castel held that an internal
investigation report prepared by outside counsel for the company's independent audit committee
was subject to work-product protection and that the company had not waived the protection by
sharing the report with the company's auditor. See No. 05 CIV. 4754(PKC), 2006 WL 1564684,
at *1 (S.D.N.Y. June 6, 2006). The Second Circuit reached the same conclusion in In re Grand
Jury Subpoena, where the court upheld a claim of work-product protection over a report




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prepared by outside counsel for the audit committee with the assistance of the company's
independent auditor. See 599 F.2d 504,506,508, 511-12 (2d Cir. 1979). 1

         Consistent with Judge Castel's decision in Internal Design Concepts, other Courts in this
District have likewise ruled that work-product protection typically is not waived by providing a
document to a company's auditors, because an auditor "is not reasonably viewed as a conduit to
a potential adversary." In re Pfizer Inc. Sec. Litig., No. 90 CIV. 1260 (SS), 1993 WL 561125, at
*6 (S.D.N.Y. Dec. 23, 1993); accord, e.g., In re Weatherford Int'/ Sec. Litig., No. 11 CIV. 1646
(LAK) (JCF), 2013 WL 12185082, at *5 (S.D.N.Y. Nov. 19, 2013); Am. S.S. Owners Mut. Prot.
& Indem. Ass'n v. Alcoa S.S. Co., No. 04-Civ-4309, 2006 WL 278131, at *2 (S.D.N.Y. Feb.2,
2006); In re Honeywell Int'/, Inc. Sec. Litig., 230 F.R.D. 293, 300 (S.D.N. Y. 2003); Gramm v.
Horsehead Indus., Inc., No. 87 CIV. 5122 (MJL), 1990 WL 142404, at *2-*3 (S.D.N.Y. Jan. 25,
1990).2 Thus, where a company and its auditor work together to "prevent, detect, and root out
corporate fraud," there is not an adversarial relationship notwithstanding the investigative role
that independent auditors perform. Merrill Lynch & Co. v. Allegheny Energy, Inc., 229 F.R.D.
441, 445-49 (S.D.N.Y. 2004). The exception, as Your Honor and other Judges of this Court
have recognized, is where the company and its auditor have a "tangible adversarial relationship."
Id. at 447 (distinguishing Medino/, Ltd v. Boston Scientific Corp., 214 F.R.D. 113, 116
(S.D.N.Y. 2002)); see also SEC v. Gupta, 281 F.R.D. 169, 172 (S.D.N.Y. 2012) (citing Medino/
for the proposition that sharing work product with an auditor waives protection only where the
auditor "d[oes] not share common interests with corporation").

       Under these authorities, Exhibits J, M, and Q plainly qualify for work-product protection,
because they capture counsel's "mental impressions and professional judgments" as delivered in
"confidential oral or written report[s] ... to the company's auditors of the results of his or her
                                                                                        ,;




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           Accord, e.g., Robinson v. Time Warner, Inc., 187 F.R.D. 144, 14~7 (S.D.N.Y. 1999); BMO Harris
Bank, N.A. v. Richert Funding, LLC, No. l:15-CV-03886-AT-JKL, 2016 WL 11531461, at •6 (N.D. Ga. Dec. 27,
2016); Adams v. City ofMontgomery, 282 F.R.D. 627, 633-34 (M.D. Ga. 2012); In're LinerboardAntitrust Litig.,
237 F.R.D. 373, 385-87 (E.D. Pa. 2006); EEOCv. Rooms To Go, Inc., No. 8:04-CV-2155-T-24TBM, 2005 WL
8160237, at •4 (M.D. Fla. Dec. 2, 2005); Picard Chem. Inc. Profit Sharing Plan v. Perrigo Co., 951 F. Supp. 679,
686 (W.D. Mich. 1996); In re Dayco Corp. Derivative Sec. Litig., 99 F.R.D. 616, 619 n.2 (S.D. Ohio 1983); In re
Grand Jury Subpoena, 478 F. Supp. 368,374 (E.D. Wis. 1979); see also David M. Greenwald et al., 1 Testimonial
Privileges§ 1:136 (3d ed. Sept. 2019 update) ("The work product doctrine will general1y apply with respect to an
internal investigation that is undertaken in anticipation of litigation, whether it is conducted by counsel or by other
agents of the corporation.").
         2 Decisions from other courts nationwide are in accord. See United States v. Deloitte LLP, 610 F.3d 129,

139 (D.C. Cir. 2010); S.E.C. v. Berry, No. C07-0443 l RMW HRL, 2011 WL 825742, at *8 (N.D. Cal. Mar. 7,
2011); Westernbank Puerto Rico v. Kachkar, No. CIV. 07-1606 ADC/BJM, 2009 WL 530131, at •7 (D.P.R. Feb. 9,
2009); Vacco v. Harrah's Operating Co., No. CIV.Al07CV0663TJMDEP, 2008 WL 4793719, at *6 (N.D.N.Y.
Oct. 29, 2008); Regions Fin. Corp. v. United States, No. 2:06-CV-00895-RDP, 2008 WL 2139008, at •8 (N.D.
Ala. May 8, 2008); In re JDS Uniphase Corp. Sec. Litig., No. C--02-1486 CW, 2006 WL 2850049, at •1 (N.D. Cal.
Oct. 5, 2006); Frank Betz Assocs., Inc. v. Jim Walter Homes, Inc., 226 F.R.D. 533, 535 (D.S.C. 2005); Gutter v. E.I.
Dupont de Nemours & Co., No. 95-CV-2152, 1998 WL 2017926, at *5 (S.D. Fla. May 18, 1998).


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investigation." Int'! Design Concepts, 2006 WL 1564684, at *3; accord, e.g., Deloitte LLP, 610
F.3d at 136 ("The work product privilege does not depend on whether the thoughts and opinions
were communicated orally or in writing, but on whether they were prepared in anticipation of
litigation."). MiMedx's Audit Committee commissioned the K&S internal investigation when the
Company was in the midst of civil litigation and government investigations to investigate
allegations raised in those matters. Far from there being a "tangibl[y] adversarial relationship"
between MiMedx and EY, MiMedx launched the investigation at EY's suggestion, invested
significant resources in the investigation, cooperated with EY in the course of the investigation,
and took decisive remedial action based on the findings of the investigation.

        Nor did EY's production ofMiMedx's work product to the SEC effect a waiver of the
protection. See United States v. Gangi, 1 F. Supp. 2d 256,264 (S.D.N.Y. 1998) (inadvertent
production will not waive work-product protection unless the producing party "evinced such
extreme carelessness as to suggest that it was not concerned with the protection"). Instead, the
production of these documents was a direct result of an inadvertent technical error and done
without MiMedx's knowledge, authorization or consent. In responding to the SEC subpoenas,
EY had collected documents from its files related to MiMedx. The Company and EY then
coordinated on a process to address records that were subject to MiMedx's work-product
protection. Specifically, MiMedx developed a broad set of search terms targeting potential
subject areas likely to involve protected information, and EY ran these search terms against
documents it identified as responsive to the SEC subpoenas. EY then provided MiMedx's
counsel copies of all documents that hit on these search terms, and MiMedx's counsel reviewed
those documents to make claims of work-product protection. We understand, however, that
Exhibits J, M, and Q were contained in a discrete subset of hard-copy files which, due to an
inadvertent technical error, were never made available to MiMedx's counsel for review,
notwithstanding that these documents contained several ofMiMedx's search terms and should
have been subject to the review.


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       For these reasons, we respectfully request that your Honor grant our request to quash
Exhibit J (ECF #24-10), Exhibit M (ECF #24-13), and Exhibit Q (ECF# 24-17), and any
reference to these documents in Defendants' Motion to Compel, and have these materials
removed from the public docket. We further respectfully request that the Court order
Defendants, the SEC, and the Department of Justice to return or destroy all copies of the
documents referenced above in their possession in whatever format.

       Thank you for your consideration of this application.


                                                Respectfully submitted,




CC:    William Burck
       William Weinreb
       Michael Carlinsky
       Eric Bruce
       Altin Sila
       Scott Hartman
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